      Case 4:24-cv-02275      Document 13        Filed on 12/04/24 in TXSD         Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 SHAD TURNER,                                      §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §        Civil Action No. 4:24-cv-02275
                                                   §
 PHH MORTGAGE CORPORATION,                         §
                                                   §
                Defendant.
                                                   §

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        Plaintiff Shad Turner (“Plaintiff”) and Defendant PHH Mortgage Corporation

(“Defendant”) file this Joint Stipulation of Dismissal with Prejudice (“Stipulation”). Plaintiff and

Defendant, by and through their undersigned counsel, hereby stipulate and agree that, pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all claims and causes of action asserted, or that

could have been asserted, by Plaintiff against Defendant are hereby dismissed with prejudice. This

Stipulation is meant to address all claims Plaintiff has brought against Defendant in this lawsuit.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff and Defendant jointly request that

the Court enter the attached Order of Dismissal with Prejudice dismissing all claims and causes of

action asserted, or that could have been asserted, by Plaintiff against Defendant with prejudice.

Plaintiff and Defendant additionally request that all taxable costs, expenses, and attorneys’ fees be

borne by the party incurring same.


Date: December 4, 2024.




ORDER
141170912V.1
    Case 4:24-cv-02275   Document 13      Filed on 12/04/24 in TXSD     Page 2 of 4




                                       Respectfully submitted,

                                       /s/ Taneska L. Jones
                                       Robert T. Mowrey - Attorney in Charge
                                       Texas Bar No. 14607500
                                       S.D. Texas Bar No. 9529
                                       rmowrey@lockelord.com
                                       Matthew K. Hansen
                                       Texas Bar No. 24065368
                                       S.D. Texas Bar No. 1046257
                                       mkhansen@lockelord.com
                                       LOCKE LORD LLP
                                       2200 Ross Avenue, Suite 2800
                                       Dallas, Texas 75201-2750
                                       Telephone: (214) 740-8000
                                       Facsimile: (214) 740-8800

                                       Taneska L. Jones
                                       Texas Bar No. 24106151
                                       S.D. Texas Bar No. 3171280
                                       taneska.jones@lockelord.com
                                       LOCKE LORD LLP
                                       600 Travis Street, Suite 2800
                                       Houston, Texas 77002
                                       Telephone: (713) 226-1563
                                       Facsimile: (713) 229-2563

                                       COUNSEL FOR DEFENDANT

                                       -AND-

                                       /s/ Erick DeLaRue
                                       Erick DeLaRue
                                       Law Office of Erick DeLaRue, PLLC
                                       2800 Post Oak Boulevard, Suite 5600
                                       Houston, Texas 77056
                                       Telephone: (713) 899-6727
                                       erick.delarue@delaruelaw.com

                                       COUNSEL FOR PLAINTIFF




ORDER
141170912V.1
    Case 4:24-cv-02275      Document 13      Filed on 12/04/24 in TXSD      Page 3 of 4




                              CERTIFICATE OF SERVICE

        The undersigned certifies that on December 4, 2024, a true and correct copy of the
foregoing document was delivered to the following via ECF consistent with the Federal Rules
of Civil Procedure:

Erick DeLaRue
Law Office of Erick DeLaRue, PLLC
2800 Post Oak Boulevard, Suite 5600
Houston, Texas 77056
Telephone: (713) 899-6727
erick.delarue@delaruelaw.com

Attorney for Plaintiff


                                          /s/ Taneska L. Jones
                                          Counsel for Defendant




ORDER
141170912V.1
      Case 4:24-cv-02275       Document 13        Filed on 12/04/24 in TXSD         Page 4 of 4




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 SHAD TURNER,                                       §
                                                    §
                  Plaintiff,                        §
                                                    §
 v.                                                 §        Civil Action No. 4:24-cv-02275
                                                    §
 PHH MORTGAGE CORPORATION,                          §
                                                    §
                  Defendant.
                                                    §

                   AGREED ORDER OF DISMISSAL WITH PREJUDICE


        On this date, came on consideration the Joint Stipulation of Dismissal with Prejudice filed

by Plaintiff Shad Turner (“Plaintiff”) and Defendant PHH Mortgage Corporation (“Defendant”).

The Court has considered the Stipulation and finds that the Stipulation is well-taken and should

be, and hereby is, GRANTED. It is therefore

        ORDERED that all claims and defenses asserted, or that could have been asserted, by

Plaintiff against Defendant are DISMISSED WITH PREJUDICE; it is further

        ORDERED that all costs, expenses, and attorneys’ fees are taxed against the party

incurring same.

        All other relief not expressly granted herein is DENIED.

        This is a final judgment that resolves all claims asserted by and against all parties.

        SIGNED on this ____ day of _________________, 202__.



                                               _______________________________________
                                               HON. CHARLES ESKRIDGE
                                               UNITED STATES DISTRICT JUDGE




ORDER
141170912V.1
